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  SHELTER PARTICIPANT RIGHTS AND RESPONSIBILITIES HANDBOOK



  Welcome to

                                 shelter!

Our shelter exists to ensure your safety, provide support and services

that promote healing and independence, and offer opportunities to

establish healthy relationships. Your experience matters; we want

your voice to be heard. As you read through this handbook, please do

not hesitate to ask questions or make comments. We strive to offer

every opportunity possible for you to make informed decisions and

recognize your strengths.

        mission is to protect victims, prevent violence, and empower

survivors of domestic violence, sexual assault, stalking, dating

violence, and human trafficking. We accomplish this by providing

victims and survivors the resources necessary to effectively cope with

the personal, social, emotional, and legal ramifications of victimization.




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While you are here, you are part of a community. We recognize the

challenges that come with communal living; there is limited privacy

and lots of strangers.

The following rights and responsibilities have been implemented to

benefit all community members:

You have a right to be safe from verbal, physical, emotional,

financial, spiritual, sexual, and mental violence.

You have a responsibility to refrain from threats, acts, or words of

racism, homophobia, transphobia, ableism, sexism, bullying,

intimidation, coercion, control, or harm to another participant or staff

member.

You have a right to a reasonable amount of privacy.

You have a responsibility to respect the boundaries of other shelter

participants and staff.

You have a right to confidentiality; staff will never release your

information without your expressed, written consent, nor will staff



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discuss case management or other private details about a participant

to another participant.

Note about mandated reporting: All staff of

                          are federally mandated reporters, and are

required by law to report child abuse, elder abuse, and the abuse of

incapacitated adults that may be disclosed or witnessed.

You have a responsibility to not reveal the location of the shelter or

the identity of its participants; if a participant wishes to meet with

family or friends, they must do so at a neutral location off shelter

premises and away from the parking area.

You have the right to a drug, alcohol, and weapon-free environment.

You have a responsibility to keep all over the counter and

prescription medications locked in the provided lockers and to not

bring illicit substances, alcohol, and/or weapons (including: knives,

firearms, swords, etc) onto shelter property (including parking lot).

You have the right to dignity and respect.



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You have the responsibility to treat all members of the community

and staff with dignity and respect.

You have the right to a clean and hygienic living environment.

You have the responsibility to complete assigned chores, clean up

messes you make, and keep your bedroom clean and orderly.

You have the right to access nutritionally adequate food;

provides meat, dairy, fresh fruits and vegetables, nuts, seeds, grains,

snacks, etc. to all participants.

You have the responsibility to eat only food that             provides or

that you have bought yourself and to refrain from eating food other

participants buy for themselves.

You have the right to participate fully in the creation of your case

management goals and objectives during your stay at

You have the responsibility to work towards goals and objectives

set with the case manager, utilizing the supports and resources

available to you.



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You have the right to request accommodations to ensure your ability

to participate in all aspects of         and its programs.

You have the responsibility to inform staff of any accommodations

you may require.

You have the right to be informed of your human, civil, and legal

rights, and to speak up if/when you feel those rights have been

violated.

You have the responsibility to respect the human, civil, and legal

rights of other shelter participants and staff.

You have the right to file a grievance if issues arise between staff,

individuals, or families living at

You have the responsibility to inform staff if you feel that any staff

member has breached policy, confidentiality, or has treated you

unfairly.




                                   Program Policies



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                                                         Program C Decl., Ex. 2
